                              3:19-cr-30035-SLD-EIL # 114-1         Page 1 of 1
                                                                                                       E-FILED
                                                                             Monday, 09 May, 2022 05:45:27 PM
                                                                                 Clerk, U.S. District Court, ILCD

                                       DEFENDANT’S EXHIBIT LIST

UNITED STATES OF AMERICA V. DONALD R. FELTON                         IN THE UNITED STATES DISTRICT
                                                                    COURT FOR THE CENTRAL DISTRICT
                                                                         SPRINGFIELD, ILLINOIS
GOVERNMENT’S ATTORNEY                DEFENDANT’S                    CASE NO. 19-CR-30035
Timothy A. Bass                      ATTORNEY
                                          D. Peter Wise             TRIAL DATE(S): May 31, 2022

PRESIDING JUDGE                      COURT REPORTER                 BAILIFF
Chief Judge Sara Darrow
Govt   Def    Marked      Admitted   EXHIBITS
Ex.    Ex.
No     No
       1                             Still photographs showing the inside of the vehicle driven by Donald Felton
                                     on June 8, 2019. The still photographs are screen shots or screen captures
                                     from police body camera or dash camera video.
